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THE UNITED SERVE: SBisialcr COURT
EASTERN D CT OF WISCONSIN |

7am FEB UA
Ex rel Valerie Thames, on behalf of her minor child dee friend Valerie Thames

ULERK OF” 206-0170

Petitioner
Writ of Habeas Corpus § 2241
Vv
Milwaukee Police Department

Jane &/or John Doe
Vel Philips Children Detention Center

Respondents

 

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 FOR
PERSONS IN CUSTODY

 

 

Authority:

Uniform Parentage Act

Article III Section 1 of the U.S.C.

Article I Section 10 of the U.S.C.

Eighth Amendment to the United States Constitution
Hensley v Municipal Court; 411 U.S. 345 (1973)
Jones v Cunningham; 371 U.S. 236 (1963)

Miller v Fenton, 474 U.S. 104 (1985)

28 U.S.C. § 1651(2)

28 U.S.C. § 1657

NATURE OF PETITION
The petitioner is in imminent danger and is in custody in violation of the United States

Constitution and the federal laws of the United States, and its treaties and or regulations. The

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petitioner is in custody within the meaning of 28 U.S.C. § 2241. Under the United States
Supreme Court’s ruling and order in Hensley v Municipal Coart; 411 U.S. 345 (1973), custody
includes not only physical custody, but also restraints that are severe, immediate, and not shared
by the public generally. A prior petition for habeas corpus relief has not been filed on behalf of
the petitioner. The petitioner submits this application for writ of habeas corpus pursuant to
section 28 U.S.C. section 2241. Section 2241 petitions cannot be deemed successive. See
Jacobs; 251 F.3d 596 (7th Cir. 2001). )

‘The Writ is the fundamental instrument for safeguarding individual freedom against
arbitrary and lawless state action.' See Harris v. Nelson, 394 U.S. 286. “Therefore, the writ
must be "administered with the initiative and flexibility essential to insure that miscarriages of
justice within its reach are surfaced and corrected." Harris, 394 U.S. at 291. The United States
Supreme Court has recognized that parental liberty is a protected constitutional right.

Liberty includes freedom from government abduction of children, and the notion that a
child is a ‘mere creation of the state’ has been vigorously rejected by the Highest Court.
(Emphasis Added). “A parent’s liberty interest in her relationship with her child is of
considerable importance and “far more precious than property rights.” Quoting May v.
Anderson, 345 U.S. 528, 533 (1953). See also 270 F.3d 1090, 1098 (7th Cir. 2001) The
Petitioner is incurring grievous and irreparable losses at the hands of the Respondents’ due to
continuing false imprisonment, unlawful deprivations of liberty and erroneous violations of the
Petitioner’s constitutional right.

The facts are drawn from the petitioners’ petition. Respectfully speaking, the Court must
accept them as true and draw all inferences in petitioners’ favor. The habeas corpus is
specifically designed to protect individual liberty and redress unlawful detention. See Preiser v

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Rodriguez, 411 U.S. 475 (1973). The Writ is in complete compliance with § 2242 requirements
for an application for a writ. ). However in artfully pleaded this court is obliged to give the
petitioners’ pro se petition, a liberal construction. See Haines v Kerner, 404 U.S. 519 (1972).

Pursuant to Rule 8({e) pleadings must be construed so as to do justice. ‘Justice’ as defined by

Black’s Law Dictionary, 7" Edition is ‘the fair and proper administration of laws’.”
Preliminary Injunct

The Respondents”’ should be immediately enjoined from continuation the false imprisonment
and the void jurisdiction of the Petitioner minor E.T. The Respondents ‘are engaging in an
unlawful restraint by of the physical liberty of Petitioner in violation of the federal laws, and
rights of the Petitioner and such restraint is without consent of Valerie Thames, biological
parent of minor child E.T. The Respondents’ should be immediately enjoined from deprivation
and interfering in the constitutional rights of Respondent minor E.T.

INTRODUCTION
1. The applicant has not exhausted the remedies available in the State courts, because no

adequate remedy exists, as well as any attempt to exhaust any remedy would be futile.

2. The petitioner has no adequate or available remedies available in the State courts.

3. The Respondents’ have falsely imprisoned the petitioner.

4. The Respondents actions are contrary to clearly established federal law, as determined by
the United States Supreme Court governing laws set forth in Wisconsin v Yoder, 406
U.S. 205, See Troxel, at 70, 120 S. Ct. 2054.

5. The Respondents are wholly without personal or subject matter jurisdiction over the
petitioner, in violation of the Due Process Clause, the Ex Post Facto Clause, the Equal

Protection Clause, and numerous other substantial unconstitutional violations listed infra.
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6. These violations are not merely technical, but serious violations of constitutional rights.
7. There is an absence of available state corrective process.
8. The respondents methods employed do not conform to the broad requirements of Due
Process.
9. Innocence is a constitutional claim, the claim of actual innocence triggers constitutional
protections
10. The Petitioners have been subjected to extreme physical assaulted including torture by
several of the Respondents’.
11. The errors and violations of the laws of the United States are so fundamentally defected
that it will inherently result in a fundamental miscarriage of justice.
Ground 1
FALSE ARREST

Respondents’ Milwaukee police kicked in the petitioner’s residential door, seized the petitioner,
placed the petitioner, a minor child in handcuffs, without Defendants arrested the plaintiff
without reading him his Miranda rights, without consent of his biological parent took the minor
child to an adult interrogation room inside of the Milwaukee Police headquarters , located at 749
W State Street, and though the petitioner and the petitioner biological mother asked for the
mother and a lawyer to be present, was denied both. The whereabouts of the minor child is
assumed to be with the Milwaukee Police Department whom alleged that the minor E.T. would
be at the Vel Philips Children Detention center. The respondents are fabricating a crime in order
to justify the illegal and unlawful arrest and detainment against the petitioner. The respondents

are acting ultra verse, under the pretense of color of the law, having no justification nor excuse in

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law, and are instead gratuitous, illegal, improper, and unrelated to any activity in which the
respondents’ may appropriately and legally engage in the course of protecting persons or
property, or ensuring civil order.

Ground 2

The Petitioners’ Fourth Amendment Rights were violated by the Respondents’ seizure.

The removal of minor child E.T. constituted a seizure within the meaning of the Fourth
Amendment. The removable was unreasonable as it was done in violation of the Constitution of
the United States as well as without lawful authority, as the respondents were and are acting
under the pretense of color of law. The respondents’ had no lawful authority to seize the minor
child E.T. The taking of the minor child E.T. violated his rights to be free from unlawful seizures
pursuant to the Fourth Amendment. The respondents’ Conduct is objectively unreasonable and
went beyond the bounds of human decency. A mother has a liberty interest in the custody of her
child and that the interest cannot be taken away unless she has been given notice and an
opportunity to be heard. The respondents’ fail to prove the biological mother of the minor E.T.
with any notice nor was a notice provided before the unlawful arrest and false imprisonment of

her minor child E.T. See Morrell v. Mock, 270 F.3d 1090 (7th Cir. 2001).

Ground 3

CRUEL & UNUSUAL PUNISHMENT

Respondents’ acted with deliberate indifference to serious medical needs of petitioner, violating

8 amendment right against cruel and unusual punishment, subjecting petitioner to unnecessary

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and wanton infliction of pain, including damages to Petitioner’s body, as a result of excessive _

force, and assault committed.

Prayer fer relief

. Wherefore, Petitioner, pray for the following relief: An immediate preliminary
injunction and restraint order, against the respondents’, enjoining respondents’ from
falsely imprisoning Petitioner and/ or attempted to put Petitioner in created danger by
the respondents’. An immediate enjoining of the respondents’ from the illegal and
unlawful restraints against the Petitioner minor child E.T., finding that the
respondents’ have violated the petitioner’s constitutional rights as described in said
complaint, in violation of The Civil Rights Act, in violation of The United States
Constitution and in violation of any and all rights retained by statue, ordinance and
any federal bylaws. Effectuate any other relief deem necessary against the

respondents’

I verify that the petition has been filed with good and that the foregoing is true and correct to the
best of the petitioners’ recollection and or knowledge as well as ability. I further request that the
petition is liberally construed and that the petitioner is not an attorney.

Respectfully,

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